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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

MARY UTHSCSA-PM DOE                        §
         Plaintiff                         §
                                           §
vs.                                        §
                                           §    C.A. No. _________________
THE UNIVERSITY OF TEXAS                    §
HEALTH SCIENCE CENTER                      §
AT SAN ANTONIO and                         §
MARCEL NOUJEIM                             §
     Defendants
________________________________________________________________________

                          PLAINTIFF’S ORIGINAL COMPLAINT

         COMES NOW, Plaintiff “MARY UTHSCSA-PM DOE” to file her

“Plaintiff’s Original Complaint” as follows:

                                        PREAMBLE
      GRADUATE STUDENT SEXUALLY HARASSED AND TOSSED ASIDE
         Plaintiff Mary was a student at The University of Texas Health Science
Center at San Antonio seeking a post graduate Masters of Science graduate degree.
With full knowledge and intent, UTHSCSA has allowed Mary to be sexually
harassed and discriminated against because of her gender, ethnicity, religious
background, and disabilities. For no reasons other than prejudice, malice, an
abusive and reckless disregard of its students, Plaintiff Mary has been targeted,
unfairly treated, and denied educational opportunities otherwise deserved. This a
suit for damages and equitable relief stemming from the illegal actions of
Defendants taken against Plaintiff Mary.
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                                 A. NATURE OF THE SUIT

         1.         Plaintiff Mary (defined hereafter) is a female from Iran, of Persian and

Islamic heritage, with a strong medical background including a degree and license in

Dentistry before enrolling at Defendant UTHSCSA (defined hereafter). Rather than

allowing Plaintiff Mary to properly pursue her Master’s degree at Defendant

UTHSCSA, Defendant UTHSCSA has allowed Defendant Noujeim (defined

hereafter) to sexually harass and assault, intimidate, and discriminate against Plaintiff

Mary entirely because of her gender, ethnicity, and religious background resulting in

Mary being cast-out from her programs. Plaintiff Mary has been left with no choice

to file this Complaint for damages and equitable relief.

         2.         Plaintiff Mary now files this original action for damages and equitable

relief pursuant to:

                    (a)   Title IX of the Education Amendments of 1972), 20
                          U.S.C. § 1681 et. seq.; and

                    (b)   Section 504 of the Rehabilitation, Comprehensive
                          Services, and Developmental Disabilities Act of 1978, 29
                          U.S.C. § 794;

                    (c)   Title II of the Americans with Disabilities Act, 42
                          U.S.C.A. §§ 12131–50 (2011);




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                    (d)   42 U.S.C. § 1983 with regards to:

                          (i)     Defendants’ violations of the laws of the United
                                  States; and

                          (ii)    Defendants’ denial (under the color of law) of
                                  Plaintiff Mary’s equal protection, procedural due
                                  process violations, and substantive due process
                                  rights granted by the Fourteenth Amendment to the
                                  U.S. Constitution;

                          (iii)   Defendants’ denial (under the color of law) of
                                  Plaintiff Mary’s freedom of expression and
                                  assembly rights granted by the First Amendment to
                                  the U.S. Constitution;

                    (e)   Defendant’s actions in violations of provisions of the
                          Texas Constitution; and

                    (f)   Defendant UTHSCSA’s breach of the Educational
                          Contract (defined hereafter).

                                          B.   PARTIES

         3.         Plaintiff “MARY UTHSCSA-PM DOE” (“Mary”) is an individual

residing in the State of Texas. Because of the privacy issues involved in this matter

and the real and eminent threat of further retaliation by Defendants, Mary is hereby

exercising her rights to proceed with this matter anonymously.

         4.         The need to protect the identity of Plaintiff Mary does not hinder the

defense of this matter by Defendants, for the facts are well known to the Defendants.

When applying the applicable tests (created by jurisprudence applicable to this Court)
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to balance the needed protection of privacy versus any inconvenience to the

Defendants, the protection of Mary’s privacy prevails.

         5.         At such time as the Court might agree on procedures designed (a) to

protect the privacy of Plaintiff Mary, and (b) to protect Plaintiff Mary from further

retaliation, Mary’s identity shall be disclosed to Defendants.

         6.         Defendant THE UNIVERSITY OF TEXAS HEALTH SCIENCE

CENTER AT SAN ANTONIO (“UTHSCSA”) is a public university owned by, and

operating in, the State of Texas that receives grants and other funding from the United

States and may be served with summons by serving its President as follows:

                       The University of Texas Health Science Center at San Antonio
                                 c/o William L. Henrich M.D., President
                                          7703 Floyd Curl Drive
                                      San Antonio, Texas 78229-3900

         7.         Defendant MARCEL NOUJEIM (“Noujeim”) is an individual residing

in the State of Texas, is employed by Defendant UTHSCSA, and may be served with

summons by serving Noujeim at his current place of employment, as follows:

                                  MARCEL NOUJEIM
              The University of Texas Health Science Center at San Antonio
                                  7703 Floyd Curl Drive
                             San Antonio, Texas 78229-3900




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                              C. JURISDICTION and VENUE

         8.         The jurisdiction of this Court is in accordance with 28 U. S. C. § 1331

as involving a federal question proceeding arising under 20 U.S.C. § 1681 et. seq.

(Title IX of the Education Amendments of 1972) (“Title IX”); Section 504 of the

Rehabilitation, Comprehensive Services, and Developmental Disabilities Act of

1978, 29 U.S.C. § 794 (“Section 504”); Title II of the Americans with Disabilities

Act (ADA), 42 U.S.C.A. §§ 12131–50 (2011) (“ADA”); and Section 1983 of Title

42 of U.S.C. (“Section 1983”).

         9.         This Court may further exercise supplemental jurisdiction over

Plaintiffs’ claims arising under Texas law pursuant to 28 U.S.C. § 1367.

         10.        Venue is proper in the Western District of Texas (San Antonio Division)

because Defendant UTHSCSA operates its schools in, and from, San Antonio, Bexar

County, Texas (which is within the Western District of Texas), and the underlying

events took place in San Antonio, Bexar County, Texas, which is within the Western

District of Texas. Further, Defendant Noujeim is employed by Defendant

UTHSCSA; does business in San Antonio, Bexar County, Texas, which is within the

Western District of Texas, and has taken the unconscionable actions described below

in San Antonio, Bexar County, Texas, which is within the Western District of Texas.


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                                  D. FACTUAL ALLEGATIONS

                                      Who is Plaintiff Mary?

         11.        Plaintiff Mary is an Iranian female of Persian and Islamic heritage, with

a strong medical background.

         12.        Plaintiff Mary initially obtained her Dentistry license from Iran.

         13.        Plaintiff Mary made an academic sojourn to the United States of

America to further expand her repertoire of Dentistry and strengthen her Dentistry

prowess.

         14.        With an eye towards this ultimate goal, Mary was admitted to Defendant

UTHSCSA’s Oral and Maxillofacial Radiology Program (“OMRP”) in the Fall of

2017.

         15.        Of all the universities in the United States, Plaintiff Mary chose to enroll

in Defendant UTHSCSA’s graduate program.

         16.        Had Defendant UTHSCSA not allowed the continual and known sexual

harassment and assaults of Plaintiff Mary by Defendant Noujeim, and, had Defendant

UTHSCSA not violated Plaintiff Mary’s civil rights and intentionally done

everything possible to stop Plaintiff Mary, Mary would soon be graduating from

Defendant UTHSCSA with her Master’s Degree.


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         17.        Further, Plaintiff suffers from certain “Disabilities” recognized by the

laws of the United States, yet Defendant UTHSCSA has offered Mary no assistance

or accommodations

         18.        Instead, Defendant UTHSCSA has cast Plaintiff Mary aside as if Mary

is nothing but a piece of garbage, through probations, the denial of admittance to

other programs within Defendant UTHSCSA, and the continued difficulty in

allowing Mary to timely take her Board Exams (defined hereafter).

                               Defendants’ Actions towards Mary.

         19.        Plaintiff Mary’s sexual victimization by Defendant Noujeim began in

2017 and has continued non-stop since then.

         20.        As described further hereafter, after Plaintiff Mary rebuffed Defendant

Noujeim’s sexual advances and after filing formal grievances and complaints against

Defendant Noujeim, Noujeim (through his words and actions) has spearheaded a

smear campaign against Plaintiff Mary, that become so pervasive, faculty at

Defendant UTHSCSA concluded that Plaintiff Mary should be placed on academic

probation.

         21.        Defendant Noujeim is a male and, upon information and belief, is

Lebanese with a Christian heritage.


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         22.        As shown through Noujeim’s actions, Noujeim has absolutely no respect

for a woman from Iran, of Persian and Islamic heritage.

         23.        The sexual harassment of Plaintiff Jane that Defendant Noujeim began

in the Fall of 2017 continues to this day and has academically harmed Mary and

destroyed Mary’s academic opportunities and advancement, perhaps eliminating

Mary’s opportunity to become a licensed doctor in Dentistry in the United States.

         24.        Defendant UTHSCSA has not only turned a blind eye to Defendant’s

Noujeim’s sexual and retaliatory harassment targeted against Plaintiff Mary, thereby

condoning and assimilating the actions of Noujeim, but Defendant UTHSCSA has

adopted Noujeim’s prejudices towards Mary resulting in Mary being cast-out.

         25.        Examples of the sexual harassment, retaliation, and discrimination

suffered by Plaintiff Mary at the hands, literally, of Defendant Noujeim include but

are in no manner limited to the following:

                    (a)   physical assault against Plaintiff Mary, including but
                          not limited to Defendant Noujeim grabbing Mary and
                          forcibly placing her in a chair;

                    (b)   unlawful restraint, locking Plaintiff Mary inside an
                          office and refusing to allow her to leave;

                    (c)   the stalking of Plaintiff Mary, including but not limited
                          to endless inappropriate emails, text messages and
                          telephone calls;

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                    (d)   racial insults directed to Plaintiff Mary by Defendant
                          Noujeim, including but not being limited to negative
                          comments about Plaintiff’s race and national origin;

                    (e)   unprofessional text messages to Plaintiff Mary
                          requesting personal photographs, inappropriate text
                          messages and emails containing music with graphic
                          lyrics of a sexual nature;

                    (f)   unprofessional and inappropriate telephone calls to
                          Plaintiff Mary expressing his “love” for Mary;

                    (g)   unwanted and inappropriate physical touching;

                    (g)   inappropriate and unprofessional comments about
                          Mary’s physical appearance, and being told by
                          Defendant Noujeim “protects” another female student
                          because Noujeim is “sleeping with her;”

                    (h)   verbal abuse of Plaintiff Mary, including but not limited
                          to telling Mary “you are nothing,” constantly insisting
                          that Mary resign from the graduate program, and telling
                          Mary that her residency would be made a “living hell”
                          if Mary elected to continue—which Noujeim succeeded
                          to accomplish;

                    (i)   the continued (and ultimately successful) threats of
                          termination of Plaintiff Mary from the graduate
                          program;

                    (j)   the manipulation of work scheduling to harass Plaintiff
                          Mary;

                    (k)   other intimidating communication tactics directed
                          towards Plaintiff Mary;


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                    (l)   in retaliation for Noujeim’s sexual approaches to
                          Plaintiff Mary being rebuffed, Noujeim began
                          continuous efforts to harass, embarrass, and defame
                          Plaintiff Mary with the hope that Mary would leave
                          Defendant UTHSCSA;

                    (m)   engaged in indiscriminate and abusive power plays by
                          threatening Plaintiff Mary with academic dismissal and
                          academic probation, then furthering the threat by stating
                          that Mary would then remain on academic probation;

                    (n)   made false allegations against Plaintiff Mary;

                    (o)   became increasingly verbally abused Plaintiff Mary;

                    (p)   engaged in blatant acts of favoritism towards particular
                          students to the detriment of Plaintiff Mary;

                    (q)   enlisted the assistance of Noujeim’s “Favorite Student”
                          to spread lies among Plaintiff Mary’s colleagues and
                          other faculty members;

                    (r)   took steps to purposely isolate Mary from certain co-
                          residents;

                    (s)   often used disparaging and demeaning comments
                          towards Plaintiff Mary;

                    (t)   displayed a lack of civility when communicating with
                          Plaintiff Mary including instances of shouting, displays
                          of temper, and the use of belittling and humiliation
                          language;

                    (u)   violated Plaintiff Mary’s student privacy rules by
                          sharing Mary’s academic performance and grades with
                          students in the department;

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                    (v)    would inappropriately comment on Mary’s physical
                           appearance;

                    (w)    continues to spread lies about Plaintiff Mary to her
                           colleagues, professors, and other students attending
                           Defendant UTHSCSA;

                    (x)    continues to spread lies about Plaintiff Mary among
                           Mary’s professional colleagues in professional medical
                           programs outside of Defendant UTHSCSA;

                    (y)    falsified documents for use against Mary with other
                           educators at Defendant UTHSCSA;

                    (z)    communicated with Mary’s professional colleagues in
                           professional medical programs outside of Defendant
                           UTHSCSA, stating that Mary was a low quality
                           resident;

                    (aa)   In direct contravention of the OMRP and Defendant
                           UTHSCSA’s policies, Defendant Noujeim secretly and
                           retroactively changed Plaintiff Jane grades to back up
                           Noujeim’s plan to kick Plaintiff Jane out of the OMRP
                           program;

                    (bb) Compared Mary to an Iranian woman shown on You-
                         Tube shooting people; and

                    (cc)   In a letter to Mary’s dean, described Mary as erratic and
                           unpredictable.

For the purposes hereof, the foregoing actions shall collectively be referred to

hereafter as “Noujeim’s Harassment.”




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         26.        On a departmental level, Noujeim’s Harassment against Plaintiff Mary

continues.

         27.        Noujeim’s Harassment of Plaintiff Mary was executed in a manner that

contravenes Defendant UTHSCSA policies in violation of the university catalog that

governed Mary’s admission to Defendant UTHSCSA (“Educational Contract”).

        28.         In trying to contain Noujeim’s Harassment, Plaintiff Mary approached

faculty at various levels, collectively referred to as hereafter as the “Upper Echelon.”

         29.        Plaintiff Mary filed numerous grievances and appeals with the Upper

Echelon to address Noujeim’s Harassment.

         30.        Unfortunately, Plaintiff Mary’s experiences with the Upper Echelon

were also been unsatisfactory.

         31.        False accusations, rejected claims of discrimination, and the imposition

of arbitrary sanctions is how the Upper Echelon has dealt with Plaintiff Mary. For

the purposes hereof, the foregoing actions of the Upper Echelon shall collectively be

referred to hereafter as “Lies and Penalties.”

                                         Harm to Mary.

         32.        Because of Noujeim’s Harassment and the Lies and Penalties, Plaintiff

Mary’s academic and profession life is in ruins.


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         33.        As a result of Noujeim’s Harassment and the Lies and Penalties, Plaintiff

Mary was denied the right to proceed timely with the "Board Exams" independently

administered by the American Board of Oral and Maxillofacial Radiology.

         34.        Plaintiff Mary’s inability to timely take the Board Exams has greatly

delayed and put at risk. Mary’s entry into the field of dentistry in the United States.

         35.        For the purposes of this matter, Noujeim’s Harassment, the Lies and

Penalties, the retaliation for Plaintiff Mary speaking openly as to the failures of

Defendants, the actions of the Upper Echelon, the violations of the Educational

Contract applicable to Mary, the inability to take the Board Exams; and the refusal to

acknowledge Mary’s Disabilities shall be collectively referred to hereafter as the

“Civil Rights Violations” as to Mary.

         36.        Plaintiff Mary has suffered severe physical injuries as well as emotional,

and economic harm as a result of the Civil Rights Violations committed by

Defendants and shall suffer future physical, emotional, and economic harm.

         37.        The Civil Rights Violations committed by Defendants as to Plaintiff

Mary were unconscionable, intentional, and made in bad faith with full knowledge

that the damage to Plaintiff Mary would follow Mary for the rest of her life, and

represent actions of complete and deliberate indifference to Mary and the Civil Rights

Violations.
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         38.        The Civil Rights Violations committed by Defendants against Plaintiff

Mary constitute disparate treatment based on Mary’s gender, ethnicity, and religion.

                       Defendants’ Action Under the Color of State Law.

         39.        The administrators participating in the Civil Right Violations committed

against Plaintiff Mary are the applicable policy makers of Defendant UTHSCSA, or,

were individuals assigned by such policymakers, and were implementing the policies

and customs of Defendant UTHSCSA when committing the Civil Rights Violations

against Plaintiff Mary.

         40.        Further, if such policies are not, in fact written, each of the

administrators participating in the Civil Rights Violations (as applicable

policymakers, or, as individuals assigned by such policymakers) were implementing

the policies and customs of Defendant UTHSCSA in accord with the customs and

practices of Defendant UTHSCSA.

         41.        Notwithstanding that the Civil Right Violations committed against

Plaintiff Mary began with Defendant Noujeim, such Violations were subsequently

adopted and ratified by Defendant UTHSCSA.

                                    Administrative Remedies.

         42.        There are no administrative remedy preconditions (“Preconditions”)

required prior to seeking relief under the laws being invoked herein by Plaintiff Mary.
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Even if such Preconditions did exist, the actions of Defendants have shown that such

efforts would be utterly futile.

         43.        As a result of the Civil Rights Violations targeted at Plaintiff Mary by

Defendants, Plaintiff Mary was forced to engage an attorney and pursue this action

to redress such wrongs.

         44.        All conditions precedent to Plaintiff Mary bringing these claims have

been met.

                           E. PLAINTIFF’S CAUSE OF ACTION

         45.        Plaintiff Mary incorporates by reference the facts set forth in Article D:

FACTUAL ALLEGATIONS hereof.

                                         COUNT ONE: TITLE IX

         46.        As a university owned and operated by the State of Texas that receives

grants and other funding from the United States, Defendant UTHSCSA falls under

the jurisdiction and requirements of Title IX.

         47.        The gender and ethnicity nature of the Civil Rights Violations

committed by Defendants towards Plaintiff Mary are so severe, pervasive, and

objectively offensive that Plaintiff Mary was deprived access to educational

opportunities or benefits provided by Defendant UTHSCSA, such denial being in

violation of Title IX.
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         48.        Defendants and its officials had actual knowledge of the referenced Title

IX violations committed against Plaintiff Mary.

         49.        Defendants failed to take immediate, effective remedial steps to resolve

the referenced Title IX violations committed against Plaintiff Mary.

         50.         Rather, Defendants acted with deliberate indifference toward Plaintiff

Mary.

         51.        Defendants persisted in their actions and inaction even after Defendants

had actual knowledge of the harm being suffered by Plaintiff Mary.

         52.        Defendants engaged in a pattern and practice of behavior designed to

discourage and dissuade other students (who were also threatened with, and subjected

to, similar Title IX violations) from seeking protection from, and prosecution of, Title

IX violations.

         53.        Plaintiff Mary has suffered economic, emotional distress, and

psychological damage to Mary’s character, prestige, standing in Mary’s community

as well as a loss of benefits and opportunities as a direct and proximate result of

Defendants’ deliberate indifference to Plaintiff Mary’s rights under Title IX.

         54.        The Civil Rights Violations committed by Defendants towards Plaintiff

Mary were intentional discrimination based on Plaintiff Mary’s gender and ethnicity,

in violation of Title IX.
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         55.        As a result of the foregoing, Plaintiff Mary hereby seeks recovery of all

actual and consequential damages available to her in accordance with Title IX.

                        COUNT TWO: SECTION 504 VIOLATIONS

         56.        As a university owned and operated by the State of Texas that receives

grants and other funding from the United States, Defendant UTHSCSA falls under

the jurisdiction and requirements of Section 504.

         57.        As mandated by Section 504, Defendant UTHSCSA is prohibited from

discriminating against students having been diagnosed with various disabilities.

         58.        Plaintiff Mary’s Disabilities qualify as disabilities covered by Section

504, and Defendant UTHSCSA’s Civil Rights Violations against Mary are direct

violations of Section 504,

         59.        Defendant UTHSCSA’s Civil Rights Violations against Plaintiff Mary

in violation of Section 504 have caused Plaintiff Mary to suffer a loss of benefits

and created economic losses, including all actual, consequential, continuing, and

future compensatory damages, for which Plaintiff Mary now sues in accord with

Section 504.

         60.        Defendant UTHSCSA’s Civil Rights Violations against Plaintiff Mary

in violation of Section 504 have caused Plaintiff Mary to suffer mental and

emotional distress and damages, including all actual, consequential, continuing, and
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future compensatory damages, for which Plaintiff Mary now sues in accord with

Section 504.

                            COUNT THREE: ADA VIOLATIONS

         61.        As a university owned and operated by the State of Texas that receives

grants and other funding from the United States, Defendant UTHSCSA falls under

the jurisdiction and requirements of the ADA.

         62.        As mandated by the ADA, Defendant UTHSCSA is prohibited from

discriminating against students having been diagnosed with various disabilities.

         63.        Plaintiff Mary’s Disabilities qualify as disabilities covered by the ADA,

and Defendant UTHSCSA’s Civil Rights Violations against Mary are direct

violations of Section 504.

         64.        Defendant UTHSCSA’s Civil Rights Violations against Plaintiff Mary

in violation of the ADA have caused Plaintiff Mary to suffer a loss of benefits and

created economic losses, including all actual, consequential, continuing, and future

compensatory damages, for which Plaintiff Mary now sues in accord with the ADA.

         65.        Defendant UTHSCSA’s Civil Rights Violations against Plaintiff Mary

in violation of the ADA have caused Plaintiff Mary to suffer mental and emotional

distress and damages, including all actual, consequential, continuing, and future

compensatory damages, for which Plaintiff Mary now sues in accord with the ADA.
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                                         COUNT FOUR: SECTION 1983

         66.        Section 1983 of Title 42 of the United States Code provides, in part,:

                         “Every person who under color of any statute, ordinance,
                         regulation, custom, or usage, of any State…subjects, or
                         causes to be subjected, and citizen of the United States…to
                         the deprivation of any rights, privileges, or immunities
                         secured by the Constitution and laws, shall be liable to the
                         part injured in an action at law, suit in equity, or other
                         proper proceeding for redress…”

         67.        Defendants were all state actors acting under the color of state law while

committing Civil Rights Violations of Plaintiff Mary and resulted in the violation of

Plaintiff Mary’s rights under:

                    a.       Title IX;

                    b.       Section 504;

                    c.       the ADA;

                   d.        the procedural due process requirements of the United
                             States Constitution as set forth in the Fourteenth
                             Amendment, in violation of Mary’s Property Rights;

                   e.        the substantive due process requirements of the United
                             States Constitution set forth in the Fourteenth Amendment
                             in violation of Mary’s Property Rights; and

                   f.        the equal protection requirements of the United States
                             Constitution set forth in the Fourteenth Amendment in
                             violation of Mary’s Property Rights.



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         68.         Under the First Amendment to the Constitution of the United States,

Plaintiff Mary has the right to express, both verbally and in writing, her

dissatisfaction with (a) Defendant UTHSCSA, a public university receiving funding

from the United States, and (b) Defendant Noujeim, an employee of Defendant

UTHSCSA.

         69.        Under the Fourteenth Amendment to the Constitution of the United

States, Plaintiff Mary has the right, as a student attending a publicly funded graduate

school, to be free from the Civil Rights Violations committed by Defendants.

         70.         Because of the Civil Rights Violations committed by Defendants,

Plaintiff Mary has been denied her guaranteed free speech, equal protection,

procedural due process, and substantive due process rights as set forth in the First and

Fourteenth Amendments. As a result of such violations, Defendants have violated

Mary’s right under 42 U.S.C. § 1983 (hereafter, “Section 1983 Violations”).

         71.        Defendants further subjected Plaintiff Mary to Section 1983 Violations

by condoning, failing to investigate, and failing to adequately train and supervise

against the commission of the Civil Rights Violations committed against Plaintiff

Mary.




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         72.        Defendants have followed the foregoing customs and policies, resulting

in the Section 1983 Violations, not only with regard to Plaintiff Mary but also as to

other students of Defendants.

         73.        Plaintiff Mary has suffered economic, emotional distress, and

psychological damage to Mary’s character, prestige, standing in Mary’s community

as well as a loss of benefits and opportunities as a direct and proximate result of

Defendants’ Section 1983 Violations as to Plaintiff Mary.

         74.        Plaintiff Mary has suffered economic, emotional distress, and

psychological damage to Mary’s character, prestige, standing in her community as

well as a loss of benefits and opportunities as a direct and proximate result of

Defendants’ deliberate indifference of Defendants’ Section 1983 Violations as to

Plaintiff Mary.

         75.        As a result of the foregoing, Plaintiff Mary hereby seeks recovery of all

actual and consequential damages available to her in accordance with Section 1983.

                         COUNT FIVE: BREACH OF CONTRACT

         76.        The Civil Rights Violations committed by Defendants against Plaintiff

Mary included breaches of the Educational Contract by Defendant UTHSCSA.

         77.        Plaintiff Mary has suffered economic damage as a direct and proximate

result of Defendant UTHSCSA’s breach of the Educational Contract.
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         78.        As a result of the foregoing, Plaintiff Mary hereby seeks recovery of

all actual and consequential damages available to her arising from such breach.

         COUNT SIX: VIOLATIONS OF THE TEXAS CONSTITUTION

         79.        As a university owned and operated by the State of Texas, Defendant

UTHSCSA’s action are also subject to scrutiny of protections created by the Texas

Constitution.

         80.        The Civil Right Violations committed by Defendant UTHSCSA against

Plaintiff Mary were committed under the color of law and resulted in the violation of

Plaintiff Mary’s rights under the Constitution of the State of Texas.

         81.        Specifically, the Civil Rights Violations committed by Defendants

towards Mary were committed under the color of law and resulted in the violation of

Plaintiff Mary’s rights under:

                    (a)   the procedural due process requirements of the Texas
                          Constitution found in Article 1, Section 19;

                    (b)   the substantive due process requirements of the Texas
                          Constitution found in Article 1, Section 19;

                    (c)   the equal protection requirements of the Texas
                          Constitution found in Article I, Section 3;

                    (d)   the freedom of speech protections of the Texas
                          Constitution found in Article I, Section 8; and



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                    (e)   the Equal Rights Amendment to of the Texas
                          Constitution found in Article 1, Section 3a.

Hereafter, the foregoing shall be collectively referred to as “Violations of the Texas

Constitution.”

         82.        The Violations of the Texas Constitution committed by Defendant

UTHSCSA as to Plaintiff Mary have caused Plaintiff Mary to suffer a loss of benefits

and created economic losses.

         83.         The Violations of the Texas Constitution committed by Defendant

UTHSCSA as to Plaintiff Mary have caused Plaintiff Mary to suffer mental and

emotional distress and damages.

         84.        Although Plaintiff Mary, as a private party living in the State of Texas,

has no standing to seek monetary damages for the Violations of the Texas

Constitution committed by Defendant UTHSCSA as to Plaintiff Mary, Plaintiff

Mary does seek the equitable relief to which Plaintiff Mary is entitled by Texas

jurisprudence, including but not being limited to:

                    (a)   the immediate termination of Defendant Noujeim;

                    (b)   Defendant UTHSCSA taking all immediate steps
                          necessary to restore the reputation of Mary among her
                          colleagues and professionals within the OMRP program
                          and around the United States;



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                    (c)   Defendant UTHSCSA taking all immediate steps
                          necessary to remove all levels of probation as to Mary;

                    (d)   Defendant UTHSCSA taking all immediate steps
                          necessary to allow Mary to without delay take the Board
                          Exams;

                    (f)   requiring Defendant UTHSCSA to strike (from the records
                          of Defendant UTHSCSA) all negative information,
                          emails, evaluations, and materials as to Plaintiff Mary.

                          COUNT SEVEN: PUNITIVE DAMAGES

         85.        The Civil Rights Violations committed by Defendants against Plaintiff

Mary in violation of Section 1983 were unconscionable, intentional and willful, or at

a minimum, were committed with a lack of regard for, or with reckless indifference

to, Plaintiff Mary’s federally protected rights, thereby entitling Plaintiff Mary to

punitive damages pursuant to Section 1983, for which Plaintiff Mary now seeks in an

amount of $5,000,000.00.

                                COUNT EIGHT: ATTORNEYS’ FEES

         86.        Plaintiff Mary should be awarded her reasonable and necessary

attorneys’ fees incurred in relation to the foregoing as allowed by applicable law.

                   COUNT NINE: PRE and POST JUDGMENT INTEREST

         87.        Plaintiff Mary also requests pre and post judgment interest as may be

allowed by applicable law.

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                                  F. REQUEST FOR JURY

         88.        Plaintiff Mary hereby requests that a jury be empaneled, and, that the

foregoing causes of actions and requests for relief be presented to such jury for

resolution, with the tender hereby of such jury as may be necessary.

                                 G. PRAYER FOR RELIEF

           WHEREFORE, Plaintiff Mary prays that: summons be issued upon

Defendants; upon final trial hereof, that judgment be entered in favor of Plaintiff

Mary for the actual, consequential, and exemplary damages set forth herein including

pre and post judgment interest; that Plaintiff Mary be granted the equitable relief

requested; that Plaintiff Mary be reimbursed her reasonable and necessary attorneys’

fees required to bring this matter; that all costs of Court be taxed against Defendants;

and that Plaintiff Mary have such further and other relief, general and special, both

at law or in equity, to which she may show herself to be justly entitled.




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         Respectfully submitted,

                                           Gorman Law Firm, pllc



                                            By:
                                                  Terry P Gorman, Esq.
                                                  Texas Bar No. 08218200
                                                  tgorman@school-law.co
                                            901 Mopac Expressway South, Suite 300
                                            Austin, Texas 78746
                                            Telephone: (512) 980-4556 (direct)
                                            Telecopier: (512) 597-1455
                                            ATTORNEYS FOR PLAINTIFF
                                            MARY UTHSCSA-PM DOE




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